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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                     §       MDL NO. 2179
“DEEPWATER HORIZON” IN THE GULF OF                  §
MEXICO, ON APRIL 20, 2010                           §       SECTION J
                                                    §
This Document Relates To:                           §
All cases, 2-10-cv-2771 and 2:10-cv-04536           §       JUDGE BARBIER
                                                    §
                                                    §       MAGISTRATE JUDGE SHUSHAN
                                                    §


                   NOTICE OF MANUAL FILING: FILED UNDER SEAL

         Transocean has moved the Court to file the following appendices under seal:

       Appendix A: A-6; A-7; A-8; A-9; A-10; A-11; A-12; A-13; A-14; A-17; A-18; A-19; A-
20; A-21; A-22; A-23; A-24; A-25; A-30; A-31; A-32; A-40; A-41; A-42; A-43; and A-46.

         Appendix B: B-32; B-76; B-82; B-83; B-86; B-88; B-91; B-96; B-98; and B-110.

         Appendix C: C-1; C-2; C-4; C-6; C-7; C-8; C-9; and C-10.




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